Case 1:16-cr-00356-ER Document 89 Filed 06/30/20 Page 1 of 4
USDC.SDNY.
DOCUMENT
ELECTRONICALLY FILED.
‘DOCH _. ee
- DATE FILED: 7 |] SOT eS oO

 

 

 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA Preposed4.-
Order of Restitution
Vv.
AHMAD NAOQVI,

Defendant. Docket No. S1 16 Cr. 356 (ER)

 

Upon the application of the United States of America, by its attorney, Audrey Strauss,
Acting United States Attorney for the Southern District of New York, Joshua A. Naftalis,
Assistant United States Attorney, of counsel; the presentence report; the Defendant’s conviction
on Count One of the above Superseding Indictment; and all other proceedings in this case, it is
hereby ORDERED that:

1, Amount of Restitution

Ahmad Naqvi, the Defendant, shall pay restitution in the total amount of $12,379,291.85,
pursuant to 18 U.S.C. §§ 3663 and 3663A, to the victims of the offense charged in Count One.
The names, addresses, and specific amounts owed to each victim are set forth in the Schedule of
Victims, attached hereto as Schedule A. Upon advice by the United States Attorney’s Office of a
change of address of a victim, the Clerk of the Court is authorized to send payments to the new
address without further order of this Court.

A. Joint and Several Liability

Restitution is joint and several with the following defendant in the following case: Fred
Elm, a/k/a “Fred Elmaleh,” $1 16 Cr. 356 (ER).

B. Apportionment Among Victims

Pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United

States is paid. Restitution shall be paid to the victims identified in the Schedule of Victims,

2020.01.09

 
Case 1:16-cr-00356-ER Document 89 Filed 06/30/20 Page 2 of 4

attached hereto as Schedule A, on a pro rata basis, whereby each payment shall be distributed
proportionally to each victim based upon the amount of loss for each victim, as set forth more fully
in Schedule A.

2. Schedule of Payments

Pursuant to 18 U.S.C. § 3664(f)(2), in consideration of the financial resources and other
assets of the Defendant, including whether any of these assets are jointly controlled; projected
earnings and other income of the Defendant; and any financial obligations of the Defendant,
including obligations to dependents, the Defendant shall pay restitution in the manner and
according to the schedule that follows:

In the interest of justice, restitution shall be payable in installments pursuant to 18 U.S.C,
§ 3572(d)(1) and (2). The Defendant shall commence monthly installment payments of an amount
equal to 10 percent of the Defendant’s gross income, payable on the first day of each month, upon
release from prison.

If the Defendant defaults on the payment schedule set forth above, the Government may

pursue other remedies to enforce the judgment.

3. Payment Instructions

The Defendant shall make restitution payments by certified check, bank check, money
order, wire transfer, credit card or cash. Checks and money orders shall be made payable to the
“SDNY Clerk of the Court” and mailed or hand-delivered to: United States Courthouse, 500 Pearl
Street, New York, New York 10007 - Attention: Cashier, as required by 18 U.S.C. § 3611. The
Defendant shall write his name and the docket number of this case on each check or money order.
Credit card payments must be made in person at the Clerk’s Office. Any cash payments shall be
hand delivered to the Clerk’s Office using exact change, and shall not be mailed. For payments

by wire, the Defendant shall contact the Clerk’s Office for wiring instructions,

2

 
Case 1:16-cr-00356-ER Document 89 Filed 06/30/20 Page 3 of 4

4, Additional Provisions

The Defendant shall notify, within 30 days, the Clerk of Court, the United States Probation
Office (during any period of probation or supervised release), and the United States Attorney’s
Office, 86 Chambers Street, 3rd Floor, New York, New York 10007 (Attn: Financial Litigation
Unit) of (1) any change of the Defendant’s name, residence, or mailing address or (2) any material
change in the Defendant’s financial resources that affects the Defendant’s ability to pay restitution
in accordance with 18 U.S.C. § 3664(k). Ifthe Defendant discloses, or the Government otherwise
learns of, additional assets not known to the Government at the time of the execution of this order,
the Government may seek a Court order modifying the payment schedule consistent with the

discovery of new or additional assets.

5. Restitution Liability

The Defendant’s liability to pay restitution shall terminate on the date that is the later of 20
years from the entry of judgment or 20 years after the Defendant’s release from imprisonment, as
provided in 18 U.S.C. § 3613(b). Subject to the time limitations in the preceding sentence, in the
event of the death of the Defendant, the Defendant’s estate will be held responsible for any unpaid
balance of the restitution amount, and any lien filed pursuant to 18 U.S.C. § 3613(c) shall continue
until the estate receives a written release of that liability.

6. Sealing

Consistent with 18 U.S.C. §§3771(a)(8) & 3664(d)(4) and Federal Rule of Criminal
Procedure 49.1, to protect the privacy interests of victims, the Schedule of Victims, attached hereto
as Schedule A, shall be filed under seal, except that copies may be retained and used or disclosed
by the Government, the Clerk’s Office, and the Probation Department, as need be to effect and

enforce this Order, without further order of this Court.

 

 
Case 1:16-cr-00356-ER Document 89 Filed 06/30/20 Page 4 of 4

SO ORDERED;

P ae Q “taerzo

HONORABLE EDGARDO RAMOS DATE
UNITED STATES DISTRICT JUDGE

 

 

 
